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Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 2 of 34 PageID #: 27

    7+(+2125$%/(25'(52).(178&.<&2/21(/675$'(0$5.5(*,675$7,216$1'$33/,&$7,216



75$'(0$5.            6WDWXV                                 *RRGV6HUYLFHV
                     .H\'DWHV
.(178&.<        5HQHZHG)HEUXDU\       ,QW O&ODVV 
&2/21(/6                     
                                     PHWDONH\FKDLQVPHWDOPRQH\FOLSVFRPPHPRUDWLYHPHWDO
51                          OLFHQVHSODWHV
61    )LUVW8VH2FWREHU   
                               ,QW O&ODVV 
                                     
                 )LOHG0DUFK     QHFNODFHVULQJVEHLQJMHZHOU\RUQDPHQWDOODSHOSLQVFXII
                                  OLQNVWLHFOLSV
                                      
                 5HJLVWHUHG            ,QW O&ODVV 
                 )HEUXDU\    
                                      FRIIHHFXSVGULQNLQJJODVVHVVKRWJODVVHVGULQNLQJIODVNV
                                       
                                         ,QW O&ODVV 
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                                       PXOWLSXUSRVHFORWKEDJV
                                       
                                         ,QW O&ODVV 
                                       
                                       FORWKLQJQDPHO\VKLUWVWVKLUWVVZHDWVKLUWVMDFNHWVYHVWV
                                       EDVHEDOOFDSV>VXQYLVRUV@
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                                         ,QW O&ODVV 
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                                       HPEURLGHUHGSDWFKHVIRUFORWKLQJ
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.(178&.<        5HJLVWHUHG           ,QW O&ODVV 
&2/21(/6        6HSWHPEHU 
                                   FLJDUV
51     )LUVW8VH         
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.(178&.<        5HJLVWHUHG             ,QW O&ODVV 
&2/21(/6        )HEUXDU\    
                                     %DUEHTXHVDXFH&DQG\&DUDPHOVDXFH&KRFRODWHFDQGLHV
51     )LUVW8VH           &KRFRODWHFRQIHFWLRQVQDPHO\ERXUERQLQIXVHGFDQGLHV
61    'HFHPEHU    &KRFRODWHVDXFH0DULQDGHV6DOVD
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    Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 3 of 34 PageID #: 28

        7+(+2125$%/(25'(52).(178&.<&2/21(/675$'(0$5.5(*,675$7,216$1'$33/,&$7,216



    75$'(0$5.            6WDWXV                                  *RRGV6HUYLFHV
                         .H\'DWHV
    .(178&.<        )LUVW8VH                ,QW¶O&ODVV 
    &2/21(/6        &RPPHUFH         
                                           &KDULWDEOHIXQGUDLVLQJVHUYLFHV&KDULWDEOHIXQGUDLVLQJ
    61    )LOHG)HEUXDU\    VHUYLFHVE\PHDQVRIRUJDQL]LQJDQGFRQGXFWLQJVSHFLDO
                                        HYHQWV3URYLGLQJJUDQWVWRQRQSURILWRUJDQL]DWLRQV
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    .(178&.<        )LUVW8VH          ,QW¶O&ODVV 
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                    )LOHG)HEUXDU\    6RFLDOFOXEVHUYLFHVQDPHO\DUUDQJLQJRUJDQL]LQJDQG
    61                       KRVWLQJVRFLDOHYHQWVJHWWRJHWKHUVDQGSDUWLHVIRUFOXE
                                             PHPEHUV
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    .(178&.<        )LUVW8VH                ,QW¶O&ODVV 
    &2/21(/6        &RPPHUFH         
                                           $VVRFLDWLRQVHUYLFHVQDPHO\SURPRWLQJWKHLQWHUHVWVRI
    61    )LOHG)HEUXDU\    LQGLYLGXDOVVHOHFWHGE\WKH*RYHUQRURIWKH&RPPRQZHDOWK
                                        RI.HQWXFN\WRUHFHLYHDQKRQRUDU\FRPPLVVLRQ3URPRWLQJ
                                             WKHLQWHUHVWVRIPHPEHUVRIWKHRUJDQL]DWLRQE\PHDQVRI
                                             FOXEVHUYLFHV
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    +2125$%/(       5HQHZHG3ULQFLSDO        ,QW O&ODVV 
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    &2/21(/6                               HTXLSSLQJSOD\JURXQGVDQGWKHOLNHDQGWRFROOHFWKLVWRULFDO
                                           DQGFXOWXUDOPDWHULDOSHUWDLQLQJWR&RPPRQZHDOWKRI
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    .(178&.<        6HF ) $SULO    FKDULWDEOHVHUYLFHVQDPHO\SURYLGLQJILQDQFLDODVVLVWDQFH
    &2/21(/6                           IRUSURJUDPVDQGVHUYLFHVRIRWKHUVSURYLGLQJHGXFDWLRQDO
                                           VFKRODUVKLSV
    51     )LUVW8VH0D\     
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               Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 4 of 34 PageID #: 29




)URP                      702IILFLDO1RWLFHV#86372*29
6HQW                      7KXUVGD\)HEUXDU\30
7R                        PZLOOLDPV#Z\DWWILUPFRP
6XEMHFW                   2IILFLDO863721RWLFHRI$FFHSWDQFHDQG5HQHZDO6HFWLRQVDQG867UDGHPDUN51.(178&.<&2/21(/6'RFNHW5HIHUHQFH1R
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6HULDO1XPEHU
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7KHGHFODUDWLRQRIXVHRUH[FXVDEOHQRQXVHILOHGIRUWKHDERYHLGHQWLILHGUHJLVWUDWLRQPHHWVWKHUHTXLUHPHQWVRI6HFWLRQRIWKH7UDGHPDUN$FW86&7KH6HFWLRQ
GHFODUDWLRQLVDFFHSWHG
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                                              127,&(2)5(*,675$7,215(1(:$/81'(56(&7,21
7KHUHQHZDODSSOLFDWLRQILOHGIRUWKHDERYHLGHQWLILHGUHJLVWUDWLRQPHHWVWKHUHTXLUHPHQWVRI6HFWLRQRIWKH7UDGHPDUN$FW86&7KHUHJLVWUDWLRQLVUHQHZHG
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7KHUHJLVWUDWLRQZLOOUHPDLQLQIRUFHIRUWKHFODVV HV OLVWHGEHORZIRUWKHUHPDLQGHURIWKHWHQ\HDUSHULRGFDOFXODWHGIURPWKHUHJLVWUDWLRQGDWHXQOHVVFDQFHOHGE\
DQRUGHURIWKH&RPPLVVLRQHUIRU7UDGHPDUNVRUD)HGHUDO&RXUW
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&ODVV HV 
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:KDWDQG:KHQWR)LOH<RXPXVWILOHDGHFODUDWLRQRIXVH RUH[FXVDEOHQRQXVH DQGDQDSSOLFDWLRQIRUUHQHZDOEHWZHHQHYHU\WKDQGWK\HDUSHULRGFDOFXODWHGIURPWKH
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*UDFH3HULRG)LOLQJV
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7KHDERYHGRFXPHQWVZLOOEHFRQVLGHUHGDVWLPHO\LIILOHGZLWKLQVL[PRQWKVDIWHUWKHGHDGOLQHVOLVWHGDERYHZLWKWKHSD\PHQWRIDQDGGLWLRQDOIHH
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  7KH86372:,//1276(1'$1<)857+(5127,&(255(0,1'(52)7+(6(5(48,5(0(1767+(5(*,675$176+28/'&217$&77+(8637221(
<($5%()25(7+((;3,5$7,212)7+(7,0(3(5,2'66+2:1$%29(72'(7(50,1($335235,$7(5(48,5(0(176$1')((6
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7RYLHZWKLVQRWLFHDQGRWKHUGRFXPHQWVIRUWKLVDSSOLFDWLRQRQOLQHJRWRKWWSWGUXVSWRJRYVHDUFKDFWLRQ"VQ  127(7KLVQRWLFHZLOORQO\EHDYDLODEOHRQOLQHWKH
QH[WEXVLQHVVGD\DIWHUUHFHLSWRIWKLVHPDLO
Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 5 of 34 PageID #: 30
Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 6 of 34 PageID #: 31
Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 7 of 34 PageID #: 32
        Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 8 of 34 PageID #: 33




5HJ1R       7KH+RQRUDEOH2UGHURI.HQWXFN\&RORQHOV,QF .(178&.<&25325$7,21
                          $OOLDQW$YHQXH6XLWH
5HJLVWHUHG)HE /RXLVYLOOH.(178&.<
                                &/$66  %DUEHTXH VDXFH &DQG\ &DUDPHO VDXFH &KRFRODWH FDQGLHV &KRFRODWH
,QW&O                    FRQIHFWLRQVQDPHO\ERXUERQLQIXVHGFDQGLHV&KRFRODWHVDXFH0DULQDGHV6DOVD
7UDGHPDUN                       ),56786(,1&200(5&(

3ULQFLSDO5HJLVWHU             7+( 0$5. &216,676 2) 67$1'$5' &+$5$&7(56 :,7+287 &/$,0 72 $1<
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                                1R FODLP LV PDGH WR WKH H[FOXVLYH ULJKW WR XVH WKH IROORZLQJ DSDUW IURP WKH PDUN DV VKRZQ
                                .(178&.<

                                6(512),/('
 Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 9 of 34 PageID #: 34
     5(48,5(0(176720$,17$,1<285)('(5$/75$'(0$5.5(*,675$7,21
  :$51,1*<2855(*,675$7,21:,//%(&$1&(//(',)<28'2127),/(7+(
         '2&80(176%(/2:'85,1*7+(63(&,),('7,0(3(5,2'6

5HTXLUHPHQWVLQWKH)LUVW7HQ<HDUV
:KDWDQG:KHQWR)LOH

     First Filing Deadline: <RX PXVW ILOH D 'HFODUDWLRQ RI 8VH RU ([FXVDEOH 1RQXVH EHWZHHQ WKHWK DQG WK
     \HDUV DIWHU WKH UHJLVWUDWLRQ GDWH 6HH  86&  N ,I WKH GHFODUDWLRQ LVDFFHSWHG WKH
     UHJLVWUDWLRQ ZLOO FRQWLQXH LQ IRUFH IRU WKH UHPDLQGHU RI WKH WHQ\HDU SHULRG FDOFXODWHGIURP WKH UHJLVWUDWLRQ
     GDWHXQOHVVFDQFHOOHGE\DQRUGHURIWKH&RPPLVVLRQHUIRU7UDGHPDUNVRUDIHGHUDOFRXUW

     Second Filing Deadline: <RX PXVW ILOH D 'HFODUDWLRQ RI 8VH RU ([FXVDEOH 1RQXVH DQG DQ$SSOLFDWLRQ
     IRU5HQHZDOEHWZHHQWKHWKDQGWK\HDUVDIWHUWKHUHJLVWUDWLRQGDWH 6HH86&


5HTXLUHPHQWVLQ6XFFHVVLYH7HQ<HDU3HULRGV
:KDWDQG:KHQWR)LOH

     <RX PXVW ILOH D 'HFODUDWLRQ RI 8VH RU ([FXVDEOH 1RQXVH DQG DQ $SSOLFDWLRQ IRU 5HQHZDO
     EHWZHHQHYHU\WKDQGWK\HDUSHULRGFDOFXODWHGIURPWKHUHJLVWUDWLRQGDWH


*UDFH3HULRG)LOLQJV

7KH DERYH GRFXPHQWV ZLOO EH DFFHSWHG DV WLPHO\ LI ILOHG ZLWKLQ VL[ PRQWKV DIWHU WKH GHDGOLQHV OLVWHG DERYH ZLWK
WKHSD\PHQWRIDQDGGLWLRQDOIHH

 $77(17,21 0$'5,' 35272&2/ 5(*,675$176 7KH KROGHU RI DQ LQWHUQDWLRQDO UHJLVWUDWLRQ ZLWK DQ
H[WHQVLRQ RI SURWHFWLRQ WR WKH 8QLWHG 6WDWHV XQGHU WKH 0DGULG 3URWRFRO PXVW WLPHO\ ILOH WKH 'HFODUDWLRQV RI 8VH
 RU ([FXVDEOH 1RQXVH UHIHUHQFHG DERYH GLUHFWO\ ZLWK WKH 8QLWHG 6WDWHV 3DWHQW DQG 7UDGHPDUN 2IILFH 86372 
7KH WLPH SHULRGV IRU ILOLQJ DUH EDVHG RQ WKH 86 UHJLVWUDWLRQ GDWH QRW WKH LQWHUQDWLRQDO UHJLVWUDWLRQ GDWH  7KH
GHDGOLQHV DQG JUDFH SHULRGV IRU WKH 'HFODUDWLRQV RI 8VH RU ([FXVDEOH 1RQXVH DUH LGHQWLFDO WR WKRVH IRU
QDWLRQDOO\ LVVXHG UHJLVWUDWLRQV 6HH  86&  N +RZHYHU RZQHUV RI LQWHUQDWLRQDO UHJLVWUDWLRQV
GR QRW ILOH UHQHZDO DSSOLFDWLRQV DW WKH 86372 ,QVWHDG WKH KROGHU PXVW ILOH D UHQHZDO RI WKH XQGHUO\LQJ
LQWHUQDWLRQDO UHJLVWUDWLRQ DW WKH ,QWHUQDWLRQDO %XUHDX RI WKH :RUOG ,QWHOOHFWXDO 3URSHUW\ 2UJDQL]DWLRQ XQGHU
$UWLFOH  RI WKH 0DGULG 3URWRFRO EHIRUH WKH H[SLUDWLRQ RI HDFK WHQ\HDU WHUP RI SURWHFWLRQ FDOFXODWHG IURP WKH
GDWH RI WKH LQWHUQDWLRQDO UHJLVWUDWLRQ 6HH  86& M )RU PRUH LQIRUPDWLRQ DQG UHQHZDO IRUPV IRU WKH
LQWHUQDWLRQDOUHJLVWUDWLRQVHHKWWSZZZZLSRLQWPDGULGHQ

127( )HHV DQG UHTXLUHPHQWV IRU PDLQWDLQLQJ UHJLVWUDWLRQV DUH VXEMHFW WR FKDQJH 3OHDVH FKHFN WKH
86372 ZHEVLWH IRU IXUWKHU LQIRUPDWLRQ :LWK WKH H[FHSWLRQ RI UHQHZDO DSSOLFDWLRQV IRU UHJLVWHUHG
H[WHQVLRQV RI SURWHFWLRQ \RX FDQ ILOH WKH UHJLVWUDWLRQ PDLQWHQDQFH GRFXPHQWV UHIHUHQFHG DERYH RQOLQH DW K
WWSZZZXVSWRJRY

127( $ FRXUWHV\ HPDLO UHPLQGHU RI 86372 PDLQWHQDQFH ILOLQJ GHDGOLQHV ZLOO EH VHQW WR WUDGHPDUN
RZQHUVKROGHUV ZKR DXWKRUL]H HPDLO FRPPXQLFDWLRQ DQG PDLQWDLQ D FXUUHQW HPDLO DGGUHVV ZLWK WKH
86372 7R HQVXUH WKDW HPDLO LV DXWKRUL]HG DQG \RXU DGGUHVV LV FXUUHQW SOHDVH XVH WKH 7UDGHPDUN
(OHFWURQLF $SSOLFDWLRQ 6\VWHP 7($6 &RUUHVSRQGHQFH $GGUHVV DQG &KDQJH RI 2ZQHU $GGUHVV )RUPV
DYDLODEOHDWKWWSZZZXVSWRJRY




                                          3DJHRI51
           Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 10 of 34 PageID #: 35



Watts, Julie

From:                           TEAS@uspto.gov
Sent:                           Monday, February 17, 2020 2:51 PM
To:                             Coughlin, Michelle; Laney, Deb; Trademarks
Subject:                        Serial number 88800020: Received Your Trademark/Service Mark Application, Principal
                                Register

Follow Up Flag:                 Follow up
Flag Status:                    Flagged



                   Filing Receipt for Trademark/Service Mark Application for Registration
                                           on the Principal Register
                                   and Next Steps in the Application Process

 Thank you for submitting your trademark application to the U.S. Patent and Trademark Office (USPTO).
 This filing receipt confirms your mark and serial number, describes next steps in the application process, and
 includes the information submitted in your application. Please read this receipt carefully and keep a copy for
 your records.

 For an overview of important things to know after filing your application, visit our website to read the After
 You File page and watch video number 9 "After You File."

 1. Your mark. KENTUCKY COLONELS (Standard Characters, mark.jpg)
 The literal element of the mark consists of KENTUCKY COLONELS. The mark consists of standard
 characters, without claim to any particular font style, size, or color.

 2. Your serial number. Your application was assigned serial number '88800020'. You must refer to your
 serial number in all communications about your application.

 3. What happens next—legal examination. Your mark will not be registered automatically. In
 approximately three months, your application will be assigned to a USPTO examining attorney for review.
 The attorney will determine if your application meets all applicable legal requirements, and if it doesn't you
 will be notified in an email with a link to the official Office action (official letter from the USPTO). Visit our
 website for an explanation of application process timelines.

 If your mark includes a design element, we will assign it one or more design search codes. We will notify
 you of these codes within the next few weeks and you can suggest that we add or delete a design search code
 from your file.

 4. Keep your addresses current in USPTO records. We do not extend filing deadlines if you do not
 receive USPTO mail or email. If your postal address or email address changes, you must update the
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 5. Check your application status in our database every three to four months. To be sure that you don't
 miss an important email from us, and to avoid the possible abandonment of your application, check your
 application status and review your documents in our database, Trademark Status and Document Retrieval
 (TSDR), every three to four months.

                                                         1
      Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 11 of 34 PageID #: 36


6. Warning about private companies offering trademark-related services. Private companies may send
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Trademark Office" in Alexandria, Virginia, and from emails with the domain "uspto.gov." If you are unsure
about whether the correspondence is from us, check your records in our database, TSDR. Visit our website
for more information on trademark-related communications that may resemble official USPTO
communications.

7. Questions? Please visit our website, email us, or call us at 1-800-786-9199 and select option 1.

8. Application data. If you find an error in the data below, visit the After You File page on our website for
information on correcting errors.


The information submitted in the application appears below:

  Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information
  unless it displays a valid OMB control number.
  PTO Form 1478 (Rev 09/2006)
  OMB No. 0651-0009 (Exp 02/28/2021)
                        Trademark/Service Mark Application, Principal Register
                                       TEAS Plus Application
   NOTE: Data fields with the * are mandatory. The wording "(if applicable)" appears where the field is
                      only mandatory under the facts of the particular application.

                                       The table below presents the data as entered.

                        Input Field                                              Entered
   TEAS Plus                                              YES
   MARK INFORMATION
   *MARK                                                  mark.jpg
   *STANDARD CHARACTERS                                   YES
   USPTO-GENERATED IMAGE                                  YES
   LITERAL ELEMENT                                        KENTUCKY COLONELS
                                                          The mark consists of standard characters, without
   *MARK STATEMENT
                                                          claim to any particular font style, size, or color.
   APPLICANT INFORMATION
   *OWNER OF MARK                                         The Honorable Order of Kentucky Colonels, Inc.
   DBA/AKA/TA/FORMERLY                                    AKA Kentucky Colonels
   *MAILING ADDRESS                                       943 South 1st Street
   *CITY                                                  Louisville
   *STATE
   (Required for U.S. applicants)
                                                          Kentucky

                                                             2
   Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 12 of 34 PageID #: 37


*COUNTRY/REGION/JURISDICTION/U.S.
TERRITORY
                                               United States

*ZIP/POSTAL CODE
(Required for U.S. and certain international   40203
addresses)

*EMAIL ADDRESS                                 scrose@kycolonels.org
LEGAL ENTITY INFORMATION
*TYPE                                          non-profit corporation
*
STATE/COUNTRY/REGION/JURISDICTION/U.S.         United States
TERRITORY WHERE LEGALLY ORGANIZED

GOODS AND/OR SERVICES AND BASIS INFORMATION
*INTERNATIONAL CLASS                           036
                                               Charitable fundraising services; Charitable
                                               fundraising services by means of organizing and
*IDENTIFICATION
                                               conducting special events; Providing grants to non-
                                               profit organizations
*FILING BASIS                                  SECTION 1(a)
    FIRST USE ANYWHERE DATE                    At least as early as 00/00/1931
    FIRST USE IN COMMERCE DATE                 At least as early as 00/00/1951
                                               SPE0-20887237201-20200217 062101419506_._11_-
    SPECIMEN FILE NAME(S)
                                               _Day_o f_Service_-_Kentucky_Colo
                                               SPE0-20887237201-20200217
                                               062101419506_._2019-Good- Works-Program-
                                               Guidelines.
                                               SPE0-20887237201-20200217 062101419506_._14_-
                                               _Award ed_Grants_-_Kentucky_Colo
                                               Screenshots from Applicant's website showing mark
    SPECIMEN DESCRIPTION
                                               prominently displayed in connection with the services
ADDITIONAL STATEMENTS SECTION
*TRANSLATION
(if applicable)
*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR REGISTRATION                    The applicant claims ownership of active prior U.S.
(if applicable)                                Registration Number(s) 2812681 and 4596450.
*CONSENT (NAME/LIKENESS)
(if applicable)




                                                 3
  Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 13 of 34 PageID #: 38


*CONCURRENT USE CLAIM
(if applicable)

ATTORNEY INFORMATION
NAME                                  Michelle Browning Coughlin
ATTORNEY BAR MEMBERSHIP NUMBER        93081
YEAR OF ADMISSION                     2009
U.S. STATE/ COMMONWEALTH/ TERRITORY   Kentucky
FIRM NAME                             Wyatt Tarrant & Combs LLP
STREET                                400 West Market St, Suite 2000
CITY                                  Louisville
STATE                                 Kentucky
COUNTRY/REGION/JURISDICTION/U.S.
TERRITORY
                                      United States

ZIP/POSTAL CODE                       40202
PHONE                                 502-562-7561
FAX                                   502-589-0309
EMAIL ADDRESS                         mcoughlin@wyattfirm.com
                                      Matthew A. Williams, Max Bridges, Julie A.
OTHER APPOINTED ATTORNEY
                                      Laemmle
CORRESPONDENCE INFORMATION
NAME                                  Michelle Browning Coughlin
PRIMARY EMAIL ADDRESS FOR
CORRESPONDENCE
                                      mcoughlin@wyattfirm.com

SECONDARY EMAIL ADDRESS(ES)           dlaney@wyattfirm.com;
(COURTESY COPIES)                     TRADEMARKS@WYATTFIRM.COM
FEE INFORMATION
APPLICATION FILING OPTION             TEAS Plus
NUMBER OF CLASSES                     1
APPLICATION FOR REGISTRATION PER
CLASS
                                      225

*TOTAL FEES DUE                       225
*TOTAL FEES PAID                      225
SIGNATURE INFORMATION
* SIGNATURE                           /MBC/


                                          4
       Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 14 of 34 PageID #: 39


   * SIGNATORY'S NAME                                 Michelle Browning Coughlin
   * SIGNATORY'S POSITION                             Attorney of record, Kentucky bar member
   SIGNATORY'S PHONE NUMBER                           502-562-7561
   * DATE SIGNED                                      02/17/2020




Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless
it displays a valid OMB control number.
PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2021)




                         Trademark/Service Mark Application, Principal Register

                                          TEAS Plus Application

                                           Serial Number: 88800020
                                           Filing Date: 02/17/020

To the Commissioner for Trademarks:


The applicant, The Honorable Order of Kentucky Colonels, Inc., AKA Kentucky Colonels, a non-profit
corporation legally organized under the laws of United States, having an address of
   943 South 1st Street
   Louisville, Kentucky 40203
   United States
   scrose@kycolonels.org

requests registration of the trademark/service mark identified above in the United States Patent and
Trademark Office on the Principal Register established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et
seq.), as amended, for the following:

International Class 036: Charitable fundraising services; Charitable fundraising services by means of
organizing and conducting special events; Providing grants to non-profit organizations

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified
goods/services. The applicant attaches, or will later submit, one specimen as a JPG/PDF image file showing
the mark as used in commerce on or in connection with any item in the class of listed goods/services,
regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The
specimen image file may be in color, and the image must be in color if color is being claimed as a feature of
the mark.

In International Class 036, the mark was first used by the applicant or the applicant's related company or
licensee predecessor in interest at least as early as 00/00/1931, and first used in commerce at least as early as
00/00/1951, and is now in use in such commerce. The applicant is submitting one(or more) specimen(s)
                                                         5
      Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 15 of 34 PageID #: 40


showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Screenshots from Applicant's website showing mark prominently
displayed in connection with the services.
Specimen-1 [SPE0-20887237201-20200217062101419506_._11_-_Day_of_Service_-
_Kentucky_Colonels_-_www.kycolonels.org.pdf ]
Specimen-2 [SPE0-20887237201-20200217062101419506_._2019-Good-Works-Program-Guidelines.pdf ]
Specimen-3 [SPE0-20887237201-20200217062101419506_._14_-_Awarded_Grants_-
_Kentucky_Colonels_-_www.kycolonels.org.pdf ]


Claim of Active Prior Registration(s)
The applicant claims ownership of active prior U.S. Registration Number(s) 2812681 and 4596450.


The owner's/holder's proposed attorney information: Michelle Browning Coughlin. Other appointed
attorneys are Matthew A. Williams, Max Bridges, Julie A. Laemmle. Michelle Browning Coughlin of Wyatt
Tarrant & Combs LLP, is a member of the Kentucky bar, admitted to the bar in 2009, bar membership no.
93081, and the attorney(s) is located at
    400 West Market St, Suite 2000
    Louisville, Kentucky 40202
    United States
    502-562-7561(phone)
    502-589-0309(fax)
    mcoughlin@wyattfirm.com

Michelle Browning Coughlin submitted the following statement: The attorney of record is an active member
in good standing of the bar of the highest court of a U.S. state, the District of Columbia, or any U.S.
Commonwealth or territory.

The applicant's current Correspondence Information:
   Michelle Browning Coughlin
    PRIMARY EMAIL FOR CORRESPONDENCE: mcoughlin@wyattfirm.com
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): dlaney@wyattfirm.com;
TRADEMARKS@WYATTFIRM.COM


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained
by the applicant owner/holder and the applicant owner's/holder's attorney, if appointed, and that all official
trademark correspondence must be submitted via the Trademark Electronic Application System (TEAS).
A fee payment in the amount of $225 has been submitted with the application, representing payment for 1
class(es).

                                                 Declaration

    [X] Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

                The signatory believes that the applicant is the owner of the trademark/service mark sought
                 to be registered;

                                                      6
      Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 16 of 34 PageID #: 41


                The mark is in use in commerce on or in connection with the goods/services in the
                 application;
                The specimen(s) shows the mark as used on or in connection with the goods/services in the
                 application; and
                To the best of the signatory's knowledge and belief, the facts recited in the application are
                 accurate.

         And/Or
         If the applicant is filing the application based on an intent to use the mark in commerce
         under 15 U.S.C. § 1051(b), § 1126(d), and/or § 1126(e):

                The signatory believes that the applicant is entitled to use the mark in commerce;
                The applicant has a bona fide intention to use the mark in commerce on or in connection
                 with the goods/services in the application; and
                To the best of the signatory's knowledge and belief, the facts recited in the application are
                 accurate.

    [X] To the best of the signatory's knowledge and belief, no other persons, except, if applicable,
        concurrent users, have the right to use the mark in commerce, either in the identical form or in
        such near resemblance as to be likely, when used on or in connection with the goods/services of
        such other persons, to cause confusion or mistake, or to deceive.
    [X] To the best of the signatory's knowledge, information, and belief, formed after an inquiry
        reasonable under the circumstances, the allegations and other factual contentions made above have
        evidentiary support.
    [X] The signatory being warned that willful false statements and the like are punishable by fine or
        imprisonment, or both, under 18 U.S.C. § 1001, and that such willful false statements and the like
        may jeopardize the validity of the application or submission or any registration resulting
        therefrom, declares that all statements made of his/her own knowledge are true and all statements
        made on information and belief are believed to be true.
Declaration Signature

Signature: /MBC/ Date: 02/17/2020
Signatory's Name: Michelle Browning Coughlin
Signatory's Position: Attorney of record, Kentucky bar member
Signatory's Phone Number: 502-562-7561



Thank you,

The TEAS support team
Mon Feb 17 14:51:00 ET 2020
STAMP: USPTO/FTK-4.17.80.94-20200217145059958790-88800020-
710ba2db2408c27d76afc43e67a6942897c5afb72f6862c3530d5ede665ee8ea-DA-50594876-
20200217144333207931




                                                       7
           Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 17 of 34 PageID #: 42



Watts, Julie

From:                           TEAS@uspto.gov
Sent:                           Monday, February 17, 2020 3:01 PM
To:                             Coughlin, Michelle; Laney, Deb; Trademarks
Subject:                        Serial number 88800035: Received Your Trademark/Service Mark Application, Principal
                                Register



                   Filing Receipt for Trademark/Service Mark Application for Registration
                                           on the Principal Register
                                   and Next Steps in the Application Process

 Thank you for submitting your trademark application to the U.S. Patent and Trademark Office (USPTO).
 This filing receipt confirms your mark and serial number, describes next steps in the application process, and
 includes the information submitted in your application. Please read this receipt carefully and keep a copy for
 your records.

 For an overview of important things to know after filing your application, visit our website to read the After
 You File page and watch video number 9 "After You File."

 1. Your mark. KENTUCKY COLONELS (Standard Characters, mark.jpg)
 The literal element of the mark consists of KENTUCKY COLONELS. The mark consists of standard
 characters, without claim to any particular font style, size, or color.

 2. Your serial number. Your application was assigned serial number '88800035'. You must refer to your
 serial number in all communications about your application.

 3. What happens next—legal examination. Your mark will not be registered automatically. In
 approximately three months, your application will be assigned to a USPTO examining attorney for review.
 The attorney will determine if your application meets all applicable legal requirements, and if it doesn't you
 will be notified in an email with a link to the official Office action (official letter from the USPTO). Visit our
 website for an explanation of application process timelines.

 If your mark includes a design element, we will assign it one or more design search codes. We will notify
 you of these codes within the next few weeks and you can suggest that we add or delete a design search code
 from your file.

 4. Keep your addresses current in USPTO records. We do not extend filing deadlines if you do not
 receive USPTO mail or email. If your postal address or email address changes, you must update the
 correspondence or owner's address using the address forms on our website.

 5. Check your application status in our database every three to four months. To be sure that you don't
 miss an important email from us, and to avoid the possible abandonment of your application, check your
 application status and review your documents in our database, Trademark Status and Document Retrieval
 (TSDR), every three to four months.

 6. Warning about private companies offering trademark-related services. Private companies may send
 you communications that resemble official USPTO communications. These private companies are not
 associated with the USPTO. All official correspondence will be from the "United States Patent and
                                                         1
      Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 18 of 34 PageID #: 43


Trademark Office" in Alexandria, Virginia, and from emails with the domain "uspto.gov." If you are unsure
about whether the correspondence is from us, check your records in our database, TSDR. Visit our website
for more information on trademark-related communications that may resemble official USPTO
communications.

7. Questions? Please visit our website, email us, or call us at 1-800-786-9199 and select option 1.

8. Application data. If you find an error in the data below, visit the After You File page on our website for
information on correcting errors.


The information submitted in the application appears below:

  Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information
  unless it displays a valid OMB control number.
  PTO Form 1478 (Rev 09/2006)
  OMB No. 0651-0009 (Exp 02/28/2021)
                        Trademark/Service Mark Application, Principal Register
                                       TEAS Plus Application
   NOTE: Data fields with the * are mandatory. The wording "(if applicable)" appears where the field is
                      only mandatory under the facts of the particular application.

                                       The table below presents the data as entered.

                        Input Field                                              Entered
   TEAS Plus                                              YES
   MARK INFORMATION
   *MARK                                                  mark.jpg
   *STANDARD CHARACTERS                                   YES
   USPTO-GENERATED IMAGE                                  YES
   LITERAL ELEMENT                                        KENTUCKY COLONELS
                                                          The mark consists of standard characters, without
   *MARK STATEMENT
                                                          claim to any particular font style, size, or color.
   APPLICANT INFORMATION
   *OWNER OF MARK                                         The Honorable Order of Kentucky Colonels, Inc.
   DBA/AKA/TA/FORMERLY                                    AKA Kentucky Colonels
   *MAILING ADDRESS                                       943 South 1st Street
   *CITY                                                  Louisville
   *STATE
   (Required for U.S. applicants)
                                                          Kentucky

   *COUNTRY/REGION/JURISDICTION/U.S.
   TERRITORY
                                                          United States


                                                             2
   Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 19 of 34 PageID #: 44


*ZIP/POSTAL CODE
(Required for U.S. and certain international   40203
addresses)

*EMAIL ADDRESS                                 scrose@kycolonels.org
LEGAL ENTITY INFORMATION
*TYPE                                          non-profit corporation
*
STATE/COUNTRY/REGION/JURISDICTION/U.S.         Kentucky
TERRITORY WHERE LEGALLY ORGANIZED

GOODS AND/OR SERVICES AND BASIS INFORMATION
*INTERNATIONAL CLASS                           041
                                               Social club services, namely, arranging, organizing,
*IDENTIFICATION                                and hosting social events, get-togethers, and parties
                                               for club members
*FILING BASIS                                  SECTION 1(a)
    FIRST USE ANYWHERE DATE                    At least as early as 00/00/1931
    FIRST USE IN COMMERCE DATE                 At least as early as 00/00/1995
                                               SPE0-1-4178094-2020021713
    SPECIMEN FILE NAME(S)                      5556237299_._PRIVATE_BOUR
                                               BON_TASTING_FOR_KENTUCKY_
                                               SPE0-1-4178094-2020021713
                                               5556237299_._KY_Col_Newsp aper_1995.jpg
                                               SPE0-4178094-202002171355 56237299_._11_-
                                               _Day_of_Se rvice_-_Kentucky_Colonels
                                               SPE0-1-4178094-2020021713
                                               5556237299_._ireShot_Capt ure_012_-
                                               _Kentucky_Colone
                                               Screenshots from Applicant's website, newspaper
    SPECIMEN DESCRIPTION                       clippings, and photographs showing Applicant's mark
                                               prominently displayed in connection with the services
ADDITIONAL STATEMENTS SECTION
*TRANSLATION
(if applicable)
*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR REGISTRATION                    The applicant claims ownership of active prior U.S.
(if applicable)                                Registration Number(s) 2812681 and 4596450.
*CONSENT (NAME/LIKENESS)
(if applicable)


                                                 3
  Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 20 of 34 PageID #: 45


*CONCURRENT USE CLAIM
(if applicable)

ATTORNEY INFORMATION
NAME                                  Michelle Browning Coughlin
ATTORNEY BAR MEMBERSHIP NUMBER        93081
YEAR OF ADMISSION                     2009
U.S. STATE/ COMMONWEALTH/ TERRITORY   Kentucky
FIRM NAME                             Wyatt Tarrant & Combs LLP
STREET                                400 West Market St, Suite 2000
CITY                                  Louisville
STATE                                 Kentucky
COUNTRY/REGION/JURISDICTION/U.S.
TERRITORY
                                      United States

ZIP/POSTAL CODE                       40202
PHONE                                 502-562-7561
FAX                                   502-589-0309
EMAIL ADDRESS                         mcoughlin@wyattfirm.com
                                      Matthew A. Williams, Max Bridges, Julie A.
OTHER APPOINTED ATTORNEY
                                      Laemmle
CORRESPONDENCE INFORMATION
NAME                                  Michelle Browning Coughlin
PRIMARY EMAIL ADDRESS FOR
CORRESPONDENCE
                                      mcoughlin@wyattfirm.com

SECONDARY EMAIL ADDRESS(ES)           dlaney@wyattfirm.com;
(COURTESY COPIES)                     TRADEMARKS@WYATTFIRM.COM
FEE INFORMATION
APPLICATION FILING OPTION             TEAS Plus
NUMBER OF CLASSES                     1
APPLICATION FOR REGISTRATION PER
CLASS
                                      225

*TOTAL FEES DUE                       225
*TOTAL FEES PAID                      225
SIGNATURE INFORMATION
* SIGNATURE                           /MBC/


                                          4
       Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 21 of 34 PageID #: 46


   * SIGNATORY'S NAME                                 Michelle Browning Coughlin
   * SIGNATORY'S POSITION                             Attorney of record, Kentucky bar member
   SIGNATORY'S PHONE NUMBER                           502-562-7561
   * DATE SIGNED                                      02/17/2020




Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless
it displays a valid OMB control number.
PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2021)




                         Trademark/Service Mark Application, Principal Register

                                          TEAS Plus Application

                                           Serial Number: 88800035
                                           Filing Date: 02/17/020

To the Commissioner for Trademarks:


The applicant, The Honorable Order of Kentucky Colonels, Inc., AKA Kentucky Colonels, a non-profit
corporation legally organized under the laws of Kentucky, having an address of
   943 South 1st Street
   Louisville, Kentucky 40203
   United States
   scrose@kycolonels.org

requests registration of the trademark/service mark identified above in the United States Patent and
Trademark Office on the Principal Register established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et
seq.), as amended, for the following:

International Class 041: Social club services, namely, arranging, organizing, and hosting social events, get-
togethers, and parties for club members

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified
goods/services. The applicant attaches, or will later submit, one specimen as a JPG/PDF image file showing
the mark as used in commerce on or in connection with any item in the class of listed goods/services,
regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The
specimen image file may be in color, and the image must be in color if color is being claimed as a feature of
the mark.

In International Class 041, the mark was first used by the applicant or the applicant's related company or
licensee predecessor in interest at least as early as 00/00/1931, and first used in commerce at least as early as
00/00/1995, and is now in use in such commerce. The applicant is submitting one(or more) specimen(s)
                                                         5
      Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 22 of 34 PageID #: 47


showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Screenshots from Applicant's website, newspaper clippings, and
photographs showing Applicant's mark prominently displayed in connection with the services.
Specimen-1 [SPE0-1-4178094-
20200217135556237299_._PRIVATE_BOURBON_TASTING_FOR_KENTUCKY_COLONELS.jpg ]
Specimen-2 [SPE0-1-4178094-20200217135556237299_._KY_Col_Newspaper_1995.jpg ]
Specimen-3 [SPE0-4178094-20200217135556237299_._11_-_Day_of_Service_-_Kentucky_Colonels_-
_www.kycolonels.org.pdf ]
Specimen-4 [SPE0-1-4178094-20200217135556237299_._ireShot_Capture_012_-_Kentucky_Colonels_-
_www.kycolonels.org.pdf ]


Claim of Active Prior Registration(s)
The applicant claims ownership of active prior U.S. Registration Number(s) 2812681 and 4596450.


The owner's/holder's proposed attorney information: Michelle Browning Coughlin. Other appointed
attorneys are Matthew A. Williams, Max Bridges, Julie A. Laemmle. Michelle Browning Coughlin of Wyatt
Tarrant & Combs LLP, is a member of the Kentucky bar, admitted to the bar in 2009, bar membership no.
93081, and the attorney(s) is located at
    400 West Market St, Suite 2000
    Louisville, Kentucky 40202
    United States
    502-562-7561(phone)
    502-589-0309(fax)
    mcoughlin@wyattfirm.com

Michelle Browning Coughlin submitted the following statement: The attorney of record is an active member
in good standing of the bar of the highest court of a U.S. state, the District of Columbia, or any U.S.
Commonwealth or territory.

The applicant's current Correspondence Information:
   Michelle Browning Coughlin
    PRIMARY EMAIL FOR CORRESPONDENCE: mcoughlin@wyattfirm.com
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): dlaney@wyattfirm.com;
TRADEMARKS@WYATTFIRM.COM


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained
by the applicant owner/holder and the applicant owner's/holder's attorney, if appointed, and that all official
trademark correspondence must be submitted via the Trademark Electronic Application System (TEAS).
A fee payment in the amount of $225 has been submitted with the application, representing payment for 1
class(es).

                                                 Declaration

    [X] Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):


                                                      6
      Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 23 of 34 PageID #: 48



                The signatory believes that the applicant is the owner of the trademark/service mark sought
                 to be registered;
                The mark is in use in commerce on or in connection with the goods/services in the
                 application;
                The specimen(s) shows the mark as used on or in connection with the goods/services in the
                 application; and
                To the best of the signatory's knowledge and belief, the facts recited in the application are
                 accurate.

         And/Or
         If the applicant is filing the application based on an intent to use the mark in commerce
         under 15 U.S.C. § 1051(b), § 1126(d), and/or § 1126(e):

                The signatory believes that the applicant is entitled to use the mark in commerce;
                The applicant has a bona fide intention to use the mark in commerce on or in connection
                 with the goods/services in the application; and
                To the best of the signatory's knowledge and belief, the facts recited in the application are
                 accurate.

    [X] To the best of the signatory's knowledge and belief, no other persons, except, if applicable,
        concurrent users, have the right to use the mark in commerce, either in the identical form or in
        such near resemblance as to be likely, when used on or in connection with the goods/services of
        such other persons, to cause confusion or mistake, or to deceive.
    [X] To the best of the signatory's knowledge, information, and belief, formed after an inquiry
        reasonable under the circumstances, the allegations and other factual contentions made above have
        evidentiary support.
    [X] The signatory being warned that willful false statements and the like are punishable by fine or
        imprisonment, or both, under 18 U.S.C. § 1001, and that such willful false statements and the like
        may jeopardize the validity of the application or submission or any registration resulting
        therefrom, declares that all statements made of his/her own knowledge are true and all statements
        made on information and belief are believed to be true.
Declaration Signature

Signature: /MBC/ Date: 02/17/2020
Signatory's Name: Michelle Browning Coughlin
Signatory's Position: Attorney of record, Kentucky bar member
Signatory's Phone Number: 502-562-7561



Thank you,

The TEAS support team
Mon Feb 17 15:00:58 ET 2020
STAMP: USPTO/FTK-4.17.80.94-20200217150058043233-88800035-
710d55210a9f87b948240c2a14c4125a44450525514ffe6e933b291284b9581e5f-DA-00574960-
20200217145136602336

                                                       7
           Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 24 of 34 PageID #: 49



Watts, Julie

From:                           TEAS@uspto.gov
Sent:                           Monday, February 17, 2020 3:04 PM
To:                             Coughlin, Michelle; Laney, Deb; Trademarks
Subject:                        Serial number 88800038: Received Your Trademark/Service Mark Application, Principal
                                Register



                   Filing Receipt for Trademark/Service Mark Application for Registration
                                           on the Principal Register
                                   and Next Steps in the Application Process

 Thank you for submitting your trademark application to the U.S. Patent and Trademark Office (USPTO).
 This filing receipt confirms your mark and serial number, describes next steps in the application process, and
 includes the information submitted in your application. Please read this receipt carefully and keep a copy for
 your records.

 For an overview of important things to know after filing your application, visit our website to read the After
 You File page and watch video number 9 "After You File."

 1. Your mark. KENTUCKY COLONELS (Standard Characters, mark.jpg)
 The literal element of the mark consists of KENTUCKY COLONELS. The mark consists of standard
 characters, without claim to any particular font style, size, or color.

 2. Your serial number. Your application was assigned serial number '88800038'. You must refer to your
 serial number in all communications about your application.

 3. What happens next—legal examination. Your mark will not be registered automatically. In
 approximately three months, your application will be assigned to a USPTO examining attorney for review.
 The attorney will determine if your application meets all applicable legal requirements, and if it doesn't you
 will be notified in an email with a link to the official Office action (official letter from the USPTO). Visit our
 website for an explanation of application process timelines.

 If your mark includes a design element, we will assign it one or more design search codes. We will notify
 you of these codes within the next few weeks and you can suggest that we add or delete a design search code
 from your file.

 4. Keep your addresses current in USPTO records. We do not extend filing deadlines if you do not
 receive USPTO mail or email. If your postal address or email address changes, you must update the
 correspondence or owner's address using the address forms on our website.

 5. Check your application status in our database every three to four months. To be sure that you don't
 miss an important email from us, and to avoid the possible abandonment of your application, check your
 application status and review your documents in our database, Trademark Status and Document Retrieval
 (TSDR), every three to four months.

 6. Warning about private companies offering trademark-related services. Private companies may send
 you communications that resemble official USPTO communications. These private companies are not
 associated with the USPTO. All official correspondence will be from the "United States Patent and
                                                         1
      Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 25 of 34 PageID #: 50


Trademark Office" in Alexandria, Virginia, and from emails with the domain "uspto.gov." If you are unsure
about whether the correspondence is from us, check your records in our database, TSDR. Visit our website
for more information on trademark-related communications that may resemble official USPTO
communications.

7. Questions? Please visit our website, email us, or call us at 1-800-786-9199 and select option 1.

8. Application data. If you find an error in the data below, visit the After You File page on our website for
information on correcting errors.


The information submitted in the application appears below:

  Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information
  unless it displays a valid OMB control number.
  PTO Form 1478 (Rev 09/2006)
  OMB No. 0651-0009 (Exp 02/28/2021)
                        Trademark/Service Mark Application, Principal Register
                                       TEAS Plus Application
   NOTE: Data fields with the * are mandatory. The wording "(if applicable)" appears where the field is
                      only mandatory under the facts of the particular application.

                                       The table below presents the data as entered.

                        Input Field                                              Entered
   TEAS Plus                                              YES
   MARK INFORMATION
   *MARK                                                  mark.jpg
   *STANDARD CHARACTERS                                   YES
   USPTO-GENERATED IMAGE                                  YES
   LITERAL ELEMENT                                        KENTUCKY COLONELS
                                                          The mark consists of standard characters, without
   *MARK STATEMENT
                                                          claim to any particular font style, size, or color.
   APPLICANT INFORMATION
   *OWNER OF MARK                                         The Honorable Order of Kentucky Colonels, Inc.
   DBA/AKA/TA/FORMERLY                                    AKA Kentucky Colonels
   *MAILING ADDRESS                                       943 South 1st Street
   *CITY                                                  Louisville
   *STATE
   (Required for U.S. applicants)
                                                          Kentucky

   *COUNTRY/REGION/JURISDICTION/U.S.
   TERRITORY
                                                          United States


                                                             2
   Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 26 of 34 PageID #: 51


*ZIP/POSTAL CODE
(Required for U.S. and certain international   40203
addresses)

*EMAIL ADDRESS                                 scrose@kycolonels.org
LEGAL ENTITY INFORMATION
*TYPE                                          non-profit corporation
*
STATE/COUNTRY/REGION/JURISDICTION/U.S.         United States
TERRITORY WHERE LEGALLY ORGANIZED

GOODS AND/OR SERVICES AND BASIS INFORMATION
*INTERNATIONAL CLASS                           035
                                               Association services, namely, promoting the interests
                                               of individuals selected by the Governor of the
                                               Commonwealth of Kentucky to receive an
*IDENTIFICATION
                                               honorary commission; Promoting the interests of
                                               members of the organization by means of club
                                               services
*FILING BASIS                                  SECTION 1(a)
    FIRST USE ANYWHERE DATE                    At least as early as 00/00/1931
    FIRST USE IN COMMERCE DATE                 At least as early as 00/00/1951
                                               SPE0-4178094-202002171355
    SPECIMEN FILE NAME(S)                      56237299_._ireShot_Captur e_012_-
                                               _Kentucky_Colonels
                                               SPE0-4178094-202002171355
                                               56237299_._Newspaper_arti cle_KY_Col_1991.jpg
                                               SPE0-4178094-202002171355
                                               56237299_._KY_Col_Newspap er_1995.jpg
                                               SPE0-4178094-202002171355
                                               56237299_._PRIVATE_BOURBO
                                               N_TASTING_FOR_KENTUCKY_CO
                                               Photos of events and screenshots of Applicant's
    SPECIMEN DESCRIPTION                       website showing mark prominently displayed in
                                               connection with various services offered to members
ADDITIONAL STATEMENTS SECTION
*TRANSLATION
(if applicable)
*TRANSLITERATION
(if applicable)

*CLAIMED PRIOR REGISTRATION                    The applicant claims ownership of active prior U.S.
(if applicable)                                Registration Number(s) 2812681 and 4596450.

                                                 3
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*CONSENT (NAME/LIKENESS)
(if applicable)
*CONCURRENT USE CLAIM
(if applicable)

ATTORNEY INFORMATION
NAME                                  Michelle Browning Coughlin
ATTORNEY BAR MEMBERSHIP NUMBER        93081
YEAR OF ADMISSION                     2009
U.S. STATE/ COMMONWEALTH/ TERRITORY   Kentucky
FIRM NAME                             Wyatt Tarrant & Combs LLP
STREET                                400 West Market St, Suite 2000
CITY                                  Louisville
STATE                                 Kentucky
COUNTRY/REGION/JURISDICTION/U.S.
TERRITORY
                                      United States

ZIP/POSTAL CODE                       40202
PHONE                                 502-562-7561
FAX                                   502-589-0309
EMAIL ADDRESS                         mcoughlin@wyattfirm.com
                                      Matthew A. Williams, Max Bridges, Julie A.
OTHER APPOINTED ATTORNEY
                                      Laemmle
CORRESPONDENCE INFORMATION
NAME                                  Michelle Browning Coughlin
PRIMARY EMAIL ADDRESS FOR
CORRESPONDENCE
                                      mcoughlin@wyattfirm.com

SECONDARY EMAIL ADDRESS(ES)           dlaney@wyattfirm.com;
(COURTESY COPIES)                     TRADEMARKS@WYATTFIRM.COM
FEE INFORMATION
APPLICATION FILING OPTION             TEAS Plus
NUMBER OF CLASSES                     1
APPLICATION FOR REGISTRATION PER
CLASS
                                      225

*TOTAL FEES DUE                       225
*TOTAL FEES PAID                      225
SIGNATURE INFORMATION

                                          4
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   * SIGNATURE                                        /MBC/
   * SIGNATORY'S NAME                                 Michelle Browning Coughlin
   * SIGNATORY'S POSITION                             Attorney of record, Kentucky bar member
   SIGNATORY'S PHONE NUMBER                           502-562-7561
   * DATE SIGNED                                      02/17/2020




Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless
it displays a valid OMB control number.
PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2021)




                         Trademark/Service Mark Application, Principal Register

                                          TEAS Plus Application

                                           Serial Number: 88800038
                                           Filing Date: 02/17/020

To the Commissioner for Trademarks:


The applicant, The Honorable Order of Kentucky Colonels, Inc., AKA Kentucky Colonels, a non-profit
corporation legally organized under the laws of United States, having an address of
   943 South 1st Street
   Louisville, Kentucky 40203
   United States
   scrose@kycolonels.org

requests registration of the trademark/service mark identified above in the United States Patent and
Trademark Office on the Principal Register established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et
seq.), as amended, for the following:

International Class 035: Association services, namely, promoting the interests of individuals selected by the
Governor of the Commonwealth of Kentucky to receive an honorary commission; Promoting the interests of
members of the organization by means of club services

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified
goods/services. The applicant attaches, or will later submit, one specimen as a JPG/PDF image file showing
the mark as used in commerce on or in connection with any item in the class of listed goods/services,
regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The
specimen image file may be in color, and the image must be in color if color is being claimed as a feature of
the mark.


                                                         5
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In International Class 035, the mark was first used by the applicant or the applicant's related company or
licensee predecessor in interest at least as early as 00/00/1931, and first used in commerce at least as early as
00/00/1951, and is now in use in such commerce. The applicant is submitting one(or more) specimen(s)
showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Photos of events and screenshots of Applicant's website showing mark
prominently displayed in connection with various services offered to members.
Specimen-1 [SPE0-4178094-20200217135556237299_._ireShot_Capture_012_-_Kentucky_Colonels_-
_www.kycolonels.org.pdf ]
Specimen-2 [SPE0-4178094-20200217135556237299_._Newspaper_article_KY_Col_1991.jpg ]
Specimen-3 [SPE0-4178094-20200217135556237299_._KY_Col_Newspaper_1995.jpg ]
Specimen-4 [SPE0-4178094-
20200217135556237299_._PRIVATE_BOURBON_TASTING_FOR_KENTUCKY_COLONELS.jpg ]


Claim of Active Prior Registration(s)
The applicant claims ownership of active prior U.S. Registration Number(s) 2812681 and 4596450.


The owner's/holder's proposed attorney information: Michelle Browning Coughlin. Other appointed
attorneys are Matthew A. Williams, Max Bridges, Julie A. Laemmle. Michelle Browning Coughlin of Wyatt
Tarrant & Combs LLP, is a member of the Kentucky bar, admitted to the bar in 2009, bar membership no.
93081, and the attorney(s) is located at
    400 West Market St, Suite 2000
    Louisville, Kentucky 40202
    United States
    502-562-7561(phone)
    502-589-0309(fax)
    mcoughlin@wyattfirm.com

Michelle Browning Coughlin submitted the following statement: The attorney of record is an active member
in good standing of the bar of the highest court of a U.S. state, the District of Columbia, or any U.S.
Commonwealth or territory.

The applicant's current Correspondence Information:
   Michelle Browning Coughlin
    PRIMARY EMAIL FOR CORRESPONDENCE: mcoughlin@wyattfirm.com
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): dlaney@wyattfirm.com;
TRADEMARKS@WYATTFIRM.COM


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained
by the applicant owner/holder and the applicant owner's/holder's attorney, if appointed, and that all official
trademark correspondence must be submitted via the Trademark Electronic Application System (TEAS).
A fee payment in the amount of $225 has been submitted with the application, representing payment for 1
class(es).

                                                  Declaration

    [X] Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):
                                                        6
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                The signatory believes that the applicant is the owner of the trademark/service mark sought
                 to be registered;
                The mark is in use in commerce on or in connection with the goods/services in the
                 application;
                The specimen(s) shows the mark as used on or in connection with the goods/services in the
                 application; and
                To the best of the signatory's knowledge and belief, the facts recited in the application are
                 accurate.

         And/Or
         If the applicant is filing the application based on an intent to use the mark in commerce
         under 15 U.S.C. § 1051(b), § 1126(d), and/or § 1126(e):

                The signatory believes that the applicant is entitled to use the mark in commerce;
                The applicant has a bona fide intention to use the mark in commerce on or in connection
                 with the goods/services in the application; and
                To the best of the signatory's knowledge and belief, the facts recited in the application are
                 accurate.

    [X] To the best of the signatory's knowledge and belief, no other persons, except, if applicable,
        concurrent users, have the right to use the mark in commerce, either in the identical form or in
        such near resemblance as to be likely, when used on or in connection with the goods/services of
        such other persons, to cause confusion or mistake, or to deceive.
    [X] To the best of the signatory's knowledge, information, and belief, formed after an inquiry
        reasonable under the circumstances, the allegations and other factual contentions made above have
        evidentiary support.
    [X] The signatory being warned that willful false statements and the like are punishable by fine or
        imprisonment, or both, under 18 U.S.C. § 1001, and that such willful false statements and the like
        may jeopardize the validity of the application or submission or any registration resulting
        therefrom, declares that all statements made of his/her own knowledge are true and all statements
        made on information and belief are believed to be true.
Declaration Signature

Signature: /MBC/ Date: 02/17/2020
Signatory's Name: Michelle Browning Coughlin
Signatory's Position: Attorney of record, Kentucky bar member
Signatory's Phone Number: 502-562-7561



Thank you,

The TEAS support team
Mon Feb 17 15:04:16 ET 2020
STAMP: USPTO/FTK-4.17.80.94-20200217150415959066-88800038-
710b0f5a5a9acc4856c50fad7a13a5a31d43cd95674791ef67749825b8f3b4d5e-DA-04154985-
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              Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 31 of 34 PageID #: 56




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Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 33 of 34 PageID #: 58
Case 3:20-cv-00132-RGJ Document 1-2 Filed 02/20/20 Page 34 of 34 PageID #: 59
